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Exhibit 29
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

(SAN FRANCISCO DIVISION)

IN RE: CATHODE RAY TUBE (CRT).

ANTITRUST LITIGATION

. This Document Relates to:

INDIRECT PURCHASER ACTIONS

SUPERIOR COURT OF CALIFORNIA

CITY AND COUNTY OF SAN FRANCISCO

STATE OF CALIFORNIA,
Plaintiffs
vs.

SAMSUNG SDI, INC., CO., LTD., et al.,

Defendants.

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- MDL No. 1917

Case No.

07-5944 SC

Case No.

CGC-11-51584

LOUISE WOOD

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computer monitor as a bundle instead of separately?
A. Yes.
Q. When you purchased the computer bundle
around 2005, did you consider buying a separate

computer CPU and separate monitor?

A. No.
Q. And why was that?

A, It was easier to buy them together.
Q. Were the features of the computer

monitor and bundle important to you in that purchase

decision?
A. I don't remember.
Q. Going back to the Toshiba television we

mentioned: before, is that the only product for which
you're claiming damages in this case?
A. Yes.
MR. GRALEWSKI: ‘Objection to the form. °
Asked and answered.
MR. FRUTIG: I have to also state an
objection, vague and ambiguous as to Toshiba.
Q. Do you still own the television that's
the basis for your claim?
A. No, I do not.

Q. When did you buy the television?

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repair?

A. I already owned a VCR, oI didn't need
to complicate it.

Q. Do you think having a VCR increased the
price of the television?

MR. GRALEWSKI: Objection to the form.

Calls for speculation, vague and ambiguous.

A. Yes.

Q. You did not want to pay for a feature
you didn't need?

A. Correct.

QO. Okay. So among brand named, 32-inch
non-VCR combo TVS, was price the only factor that led
you to select the Toshiba?

A. As far as I know, yes.

Q. Going back to your preference for brand
names, why do you prefer brand name TVs to ones that
you have not heard of?

A. I always had preferred a brand name.

Q. Do you perceive quality differences
between brand names and non-brand names?

A. I do.

Q. And what are some brands you associate

with quality?

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A. Regarding television sets?

Q. Regarding television sets.

A. Sony, Panasonic, Samsung.

Q. Not Toshiba?

A. No.

Q. At the time you purchased your

television in 2004, did you associate the Toshiba
brand name with the quality television?

A. I associated it with the second tier.

Q. So the names you said before, Panasonic,
Sony, Samsung, is that the first tier in the

recognized names?

A. Yes.
Q. What other television manufacturers
would be on the second tier -- actually, I'm sorry,

is there anyone else in the first tier beside

Panasonic, Sony, Samsung?

A: In my mind, no.

Q. What TV brands are in the second tier?
A. Hitachi, Daewoo, LCD. That's it.

Q. So did you say LCD?

A. I think that's a brand. Is it not?

Q. I'm not sure. Is there a third tier?
A. No.

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Daewoo models?

A. . I don't remember.

Q. Did you consider any Sony models?

A. I believe so.

Q. And why did you decide to purchase the

Toshiba TV instead of the Sony TV?

A. I believe it was a better price.

Q. I think you also said you considered
Panasonic models.

A. Yes.

Q. Did you select the Toshiba because it
was cheaper than the Panasonic?

A. I don't remember.

Q. So why did you choose to purchase the
television that was in the second tier, in your
judgment, as opposed to in the first tier?

A. Because I couldn't afford one in the
first tier.

Q. _ Was the brand of the CRT inside the
television important to you?”

A. I wouldn't know what the brand was.

Q. So at the time you purchased the Toshiba
TV, you didn't know what kind of CRT was in it?

A. , Correct.

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Q. Do you know what kind of CRT was in it

today?
A. I do not.
Q. Do you know who made the CRT in your

Toshiba television?
A. I do not.
QO. Do you have any reason to believe it was

one of the defendants in this case who manufactured

the CRT?

A. I do not know.

Q.- Do you know of any way for you to find
out?

A. I am sure there are records that
demonstrate what CRTs were part of each of these

television. sets that were produced.

Q. But based on your own knowledge?
A. My own knowledge, no.
Q. So if one of the defendants in this case

did not make the CRT in your TV, would you still be
bringing this claim?
MR. GRALEWSKI: Object to the form.
Vague and ambiguous, calls for speculation,
calls for legal conclusion, lacks foundation.

A. If that were the case, I wouldn't be

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qualified to be speaking to you now.
Q. How do you mean that, qualified?
MR. GRALEWSKI: Object to the form.
Vague and ambiguous, calls for speculation,
lacks foundation, calls for a legal conclusion.
A. Could you repeat the question, please.
Q. How do you mean you wouldn't be
qualified to speak with me if one of the defendants

had not manufactured the CRT in your Toshiba

television?
MR. GRALEWSKI: Same objections.
A. I would not be an injured party.
Q. So if one of the defendants did not make

the CRT in your television, you wouldn't have
suffered any injury?
MR. GRALEWSKI: Object to the form.

Asked and answered, vague and ambiguous, calls

for speculation, lacks foundation, calls for a

legal conclusion.

A. I believe so.

Q. And you believe you're qualified to
speak with me today; is that correct?

A. Correct.

Q. Why do you think that?

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A. That's AMEX's warrantee for one year.
_Q. Okay. Other than the AMEX warrantee,

was there any warrantee that you are aware of?

A. I don't remember the time period.
Q. Going back to the receipt, Exhibit 382,

is it your practice to keep receipts?

A. Yes.

Q. Do you keep all of your receipts?

A. I do.

QO. How long do you keep them for?

A. ‘I have them going back 10 years.

Q. Where do you keep them?

A In my apartment.

OQ.) Is Costco a membership store?

A. . It is.

Q. So you have to be a member to shop
there?

A. Correct.

Q. Were you a Costco member at the time you

purchased your television?

A. I was.

Q. How much did you pay for your Costco
membership?

A. It was actually a gift.

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Q. Are you still a Costco member?

A. I am.

Q. ._Do you pay for your membership now?

A. I do.

Q. How much do you pay for your membership
now?

A. I believe it's $50 a year.

Q. $50 per year.

And is that your approximate value of
the membership back in. 2004?
A. Yes.

MR. GRALEWSKI: Object to the form.
Vague and ambiguous.

Q. Prior to receiving the membership in
2004 as a gift, were you a Costco member?
A. Yes.

MR. GRALEWSKI: Can we just take a quick
break and go off the record. The videographer
needs a technical adjustment. We don't have to
take a break, just off the record.

THE VIDEOGRAPHER: Off the record, 12:20

(Discussion off the record.)

THE VIDEOGRAPHER: Back on the record,

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12:20 p.m.
BY MR. GOLDSTEN: —
Q. Did the gift membership you received in

2004, did that cover the calendar year 2004?

A. Tt did.

Q. Were you a member in 2003?

A. I was.

Q. Did you pay for that or receive that as
a gift?

A. That was a gift.

Q. What was the value of that gift?

MR. GRALEWSKI: Hold on just a second.
I'm not going to object, but are you going to
ask a lot of questions about her membership and
whether she got them as gifts? Because I hope
not.

MR. GOLDSTEIN: Yeah, I have got a
couple more.

MR. GRALEWSKI: So that's my speaking
objection.

MR. GOLDSTEIN: Okay.
Q. Does being a Costco member entitle you

to certain discounts that are not available to

non-members?

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A. I don't believe so.
QO. Can non-members shop at Costco?
A. I don't believe so.

MR. GRALEWSKI: I object to the form.

Calls for speculation.

Q. Why do you continue to maintain a Costco
membership?

A. I appreciate good value.

Q. So is it fair to say you think the value

is worth the membership fee?

A. Correct.

Q. So is it fair to say you think you can
obtain some things more cheaply at Costco than at
other stores?

A. I believe so.

Q. And non-members don't have access to
those same values?

MR. GRALEWSKI: Object to the form.

Lacks foundation, calls for speculation.

A. Non-members can't purchase products at
Costco.

Q. Do you think that if you were not a
Costco member, you would have paid more for your

television?

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